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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



UNITED STATES OF AMERICA,


                        Plaintiff


V.                                                         CASE NO.   3:07CR283

ERIC LAMOTTE,


                        Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented to the court upon the written consent of the Defendant and counsel for the Defendant to

proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented to not only having the Magistrate Judge conduct the hearing and

enter any order of forfeiture, if applicable, but also to having the Magistrate Judge make

necessary findings and accepting any guilty plea as may be entered that could not be withdrawn

except for fair and just reason.


        The Defendant pled guilty to Counts One and Four of the Indictment in open court and

pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made by the

Defendant under oath, on the record, and based upon the written plea agreement and statement of

facts presented, the court makes the following findings:

        1.      That the Defendant is competent to enter a plea of guilty;
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  2.    That the Defendant understands the nature of the charges against him to which his


        pleas are offered;


  3.    That the Defendant understands what the maximum possible penalties are upon


        conviction of the offenses charged, including any mandatory minimum periods of


        confinement, the effect of any required term of supervised release, the loss of


        various civil rights (if applicable, including the right to vote, the right to hold


        public office, the right to own and possess a firearm), the possibility of adverse


        immigration consequences (if applicable), the required imposition of a special

        assessment, forfeiture of real and/or personal property (if applicable), and


        restitution (if applicable);


  4.    That the sentencing court has jurisdiction and authority to impose any sentence


        within the statutory maximums provided, but that the court will determine the


        defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the


        court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


        sentence above or below the advisory sentencing range, subject only to review by

        higher courts for reasonableness;


  5.    That the Defendant understands his right to persist in a plea of not guilty and


        require that the matter proceed to trial with all the rights and privileges attending a


        trial, including, but not limited to: the right to effective assistance of counsel; the

        right to use the power and processes of the court to compel the production of

        relevant evidence on the Defendant's behalf; the right to confront and cross-


        examine adverse witnesses; the right to present relevant evidence; the right to


        remain silent; and the right to trial by jury;
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      6.      That the Defendant understands that he is waiving any right to appeal whatever

              sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

       7.      That the Defendant understands all provisions of the written plea agreement


               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily

               entered and is not the result of force or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and

       9.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in


               fact to support said pleas.

       Accordingly, the court accepted the Defendant's pleas of guilty to Counts One and Four

of the Indictment and entered judgment of guilt on the subject charges. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's pleas

of guilt and resulting judgments of guilt, be adopted.

       Let the Clerk forward a copy of this report and recommendation to the Honorable Robert

E. Payne and to counsel of record.


        It is so Ordered.




                                             Dennis W. Dohnal
                                             United States Magistrate Judge



Dated: $EP 2 1 2007
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                                          NOTICE


       The Defendant is advised that he may file specific written objection to this report


and recommendation with the court within ten (10) days of this date. If objection is noted,


the party objecting must promptly arrange for the transcription of the relevant record and


file it forthwith with the court for its use in any review. Failure to object in accordance


with this notice, including the requirement for preparation of a transcription of the


relevant portions of the record, will constitute a waiver of any right to de novo review of the


matter and may result in adoption of the recommendation, including the finding of guilt as


entered by the magistrate judge.
